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                                             #342



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA ,                       )
                                                 )
                Plaintiff,                       )
                                                 )
v.                                               )                     NO. 07-CR-30057-WDS
                                                 )
JEREMY MCCARNS,                                  )
                                                 )
                Defendant.                       )


                                   MEMORANDUM AND ORDER

STIEHL, District Judge:

        Before the Court is defendant’s pro se motion seeking retroactive application of the

sentencing guidelines to crack cocaine offenses (Doc. 103). The Court appointed Assistant Federal

Defender Dan Cronin to represent the defendant. The Probation Officer has determined, and

appointed counsel concurs, that the defendant is not eligible for a reduction in sentence because the

amount of drugs involved, 309.2 grams of crack cocaine and 20 kilograms of cocaine hydrochloride

results in a base offense level of 34, even after his reduction for acceptance of responsibility (Doc.

110), and therefore, there is no change in the guideline computations for his case and he is not

entitled to the relief he seeks.

        A review of the record, and application of §3582 reveals that the defendant was sentenced

at a base offense level of 31 with a criminal history category of III, resulting in a guideline range of

135-180 months with a mandatory minimum of 120 months. Pursuant to a rule 35 motion, the Court

reduced the defendant’s sentence to 90 months (See, Order at Doc. 97). The amendments to the

advisory guidelines would not, given the amount of controlled substance involved, result in a lower

guidelines range than that which he is currently serving. Therefore, the relief which the defendant
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seeks is not available to him under the amendments to the advisory Sentencing Guidelines.

       Accordingly, the Court GRANTS, the motion to withdraw (Doc. 110) and DENIES

defendant’s motion for a reduction in sentence (Doc. 103) because the defendant is not entitled to

a reduction.



IT IS SO ORDERED.

DATE:      29 October, 2012

                                             /s/ WILLIAM D. STIEHL
                                                  DISTRICT JUDGE




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